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                                                                                     FILED
                                                                                      MAR. 7, 2022
                            UNITED STATES DISTRICT COURT                        Clerk, U.S. District & Bankruptcy
                            FOR THE DISTRICT OF COLUMBIA                        Court for the District of Columbia

LOGAN BRADLEY LAKE,                                    )
                                                       )
                       Plaintiff,                      )
                                                       )
       v.                                              )       Civil Action No. 22-264 (UNA)
                                                       )
UNITED STATES,                                         )
                                                       )
                       Defendant.                      )

                                    MEMORANDUM OPINION

       This matter is before the Court on Plaintiff’s application to proceed in forma pauperis

and his pro se civil complaint. The application will be granted, and the complaint will be

dismissed for lack of subject matter jurisdiction.

       “Article III of the United States Constitution limits the judicial power to deciding ‘Cases

and Controversies.’” In re Navy Chaplaincy, 534 F.3d 756, 759 (D.C. Cir. 2008) (quoting U.S.

Const. art. III, § 2), cert. denied, 556 U.S. 1167 (2009). “One element of the case-or-controversy

requirement is that plaintiffs must establish that they have standing to sue.” Comm. on Judiciary

of U.S. House of Representatives v. McGahn, 968 F.3d 755, 762 (D.C. Cir. 2020) (citations and

internal quotation marks omitted). A party has standing for purposes of Article III if he has “(1)

suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial decision.” Id. at 763 (quoting Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)).

       Generally, plaintiff alleges that the former President of the United States committed fraud

when, on January 6, 2021, he failed perform “an affirmative Oath of Office . . . to uphold and

maintain our Constitutional form of government[.]” Compl. at 3. He alleges that defendant “told

lies about election fraud” at a rally on January 6, 2021, and “deliberately concealed . . . material
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information of actual election[] results from rallygoers.” Id. at 4. Plaintiff demands a court

Order preventing the former President from asserting “executive privilege in relation . . . to

January 6th, 2021,” ordering the Archives to release documents to Congress, directing the former

President to compensate rallygoers for court costs and to pay for damages to the Capitol

building. Id. at 5.

       Missing from the complaint are any factual allegations establishing that plaintiff

sustained (or is likely to sustain) an injury resulting from the former President’s actions or any

other event occurring on January 6, 2021. “[A] plaintiff raising only a generally available

grievance about government—claiming only harm to his and every citizen’s interest in proper

application of the Constitution and laws, and seeking relief that no more directly and tangibly

benefits him than it does the public at large—does not state an Article III case or

controversy.” Lujan, 504 U.S. at 573-74. Because plaintiff fails to allege facts sufficient to

establish standing, the Court lacks subject matter jurisdiction over his claims. The complaint

must therefore be dismissed.

       An Order is issued separately.

                                                      /s/
                                                      AMIT P. MEHTA
                                                      United States District Judge
DATE: March 7, 2022
